          Case 3:19-cv-07651-EMC Document 303 Filed 11/08/22 Page 1 of 7




                            NOT FOR PUBLICATION                            FILED
                     UNITED STATES COURT OF APPEALS                         NOV 8 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

INTEL CORPORATION,                               No.    21-16817

                 Plaintiff-Appellant,            D.C. No. 3:19-cv-07651-EMC

 v.
                                                 MEMORANDUM*
FORTRESS INVESTMENT GROUP LLC;
FORTRESS CREDIT CO LLC; VLSI
TECHNOLOGY LLC,

                 Defendants-Appellees,



                    Appeal from the United States District Court
                      for the Northern District of California
                    Edward M. Chen, District Judge, Presiding

                      Argued and Submitted October 11, 2022
                                Honolulu, Hawaii

Before: SCHROEDER, RAWLINSON, and BRESS, Circuit Judges.

      Intel Corp. appeals the district court’s dismissal of its antitrust claims against

Fortress Investment Group LLC (“Fortress”), Fortress Credit Co. LLC, and VLSI

Technology LLC (“VLSI”). We have jurisdiction under 28 U.S.C. § 1291. We

review de novo the grant of a motion to dismiss under Federal Rule of Civil


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             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
       Case 3:19-cv-07651-EMC Document 303 Filed 11/08/22 Page 2 of 7




Procedure 12(b)(6). Nguyen v. Endologix, Inc., 962 F.3d 405, 413 (9th Cir. 2020).

We affirm.

      Intel “develops, manufactures, and sells integrated digital technology

products,” including microprocessors. Fortress is a multi-billion- dollar investment

group that has invested in intellectual property, including patent portfolios. Intel

alleges that Fortress controls various so-called patent assertion entities (“PAEs”),

including VLSI, and that Fortress through those PAEs has aggregated “weak”

substitute patents that are “easily designed around” by acquiring the patents from

other entities that had rarely enforced them.

      According to Intel, Fortress’s patent aggregation has allowed Fortress to gain

control of four different technology markets for patents, which Fortress can use to

extract large settlements and threaten meritless infringement suits. Intel claims that

these patents have “questionable validity, infringement, enforceability, and/or are

easily designed around, and therefore have little or no meaningful value,” but that

Fortress’s aggregation of the patents gives it leverage in demanding licenses and

bringing lawsuits for patent infringement.

      Before the commencement of these proceedings, VLSI filed suits against Intel

in the Northern District of California, the District of Delaware, and the Western

District of Texas, alleging that Intel’s microprocessors infringed on 21 of VLSI’s

patents. In response, Intel tried to turn these events into the basis for an antitrust


                                          2
        Case 3:19-cv-07651-EMC Document 303 Filed 11/08/22 Page 3 of 7




suit. Intel challenges Fortress’s patent aggregation scheme under Section 1 of the

Sherman Act, Section 7 of the Clayton Act, and, derivatively, California unfair

competition law.

       The parties spar at length over whether Intel’s theory is even cognizable under

the antitrust laws. Intel argues that serial patent litigation can stifle innovation and

competition, noting that although the district court dismissed its suit, the court found

Intel’s overall theory “compelling.” Fortress argues that much of Intel’s theory is

premised on the notion that the judicial system is incapable of ensuring the accuracy

of jury verdicts in patent infringement cases, and that to the extent this problem

exists, an antitrust suit is not the proper remedy. Fortress relies on a recent Seventh

Circuit decision noting that “[t]he patent laws do not set a cap on the number of

patents any one person can hold—in general, or pertaining to a single subject,” and

that valid patents in fact “authorize their owners to exclude competition.” Mayor of

Baltimore v. AbbVie Inc., 42 F.4th 709, 712 (7th Cir. 2022).

       We need not resolve the broader question of whether this type of lawsuit

reflects a proper invocation of the antitrust laws because we agree with the district

court that after receiving multiple opportunities to amend its complaint, Intel has

failed to plead facts sufficient to state its antitrust claims.

       A complaint will survive a Rule 12(b)(6) motion if it contains “sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its


                                             3
         Case 3:19-cv-07651-EMC Document 303 Filed 11/08/22 Page 4 of 7




face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). To adequately state a Section 1 claim, Intel

must plausibly allege that the challenged restraint will lead to “substantial

anticompetitive effect[s].” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018).

A Section 7 claim similarly requires the plaintiff plausibly to allege “‘an appreciable

danger’ or ‘a reasonable probability’ of anticompetitive effects” in the relevant

markets. DeHoog v. Anheuser-Busch InBev SA/NV, 899 F.3d 758, 763 (9th Cir.

2018) (quoting Saint Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd.,

778 F.3d 775, 788 (9th Cir. 2015)). A plaintiff can allege either “direct evidence”

or “[i]ndirect evidence” of anticompetitive effects. Am. Express Co., 138 S. Ct. at

2284.    Here, Intel purports to rely on direct evidence.        “Direct evidence of

anticompetitive effects would be proof of actual detrimental effects on competition,

such as reduced output, increased prices, or decreased quality in the relevant

market.” Id. (quotations omitted).

        We agree with the district court that Intel has failed plausibly to plead that

Fortress’s conduct has resulted in anticompetitive effects. Intel focuses most of its

allegations on how the alleged patent aggregation allegedly led to increased prices.

But Intel points to no instance in which it has actually paid higher royalties post-

aggregation; it merely cites Fortress’s litigation demands as evidence that licensing

prices have increased. There are substantial questions regarding whether a litigation


                                           4
       Case 3:19-cv-07651-EMC Document 303 Filed 11/08/22 Page 5 of 7




demand is even a cognizable “price” for purposes of the antitrust laws, and whether

Intel has sufficiently alleged a price “increase” based on the amounts for which the

defendants acquired the patents.

      Even setting these potential problems to the side, we agree with the district

court that Intel has failed plausibly to plead that any price increases were the result

of Fortress’s patent aggregation. Because price increases can be the natural result

of growing demand (or increasing marginal costs), “[e]ven in a concentrated market,

the occurrence of a price increase does not in itself permit a rational inference

of . . . supracompetitive pricing.” Brooke Grp. Ltd. v. Brown & Williamson Tobacco

Corp., 509 U.S. 209, 237 (1993). A plaintiff must allege that a price increase is

traceable to a restraint on trade. See id.

      As noted, Intel does not allege any instance in which it has in fact paid higher

royalties due to alleged patent aggregation. Intel has also not alleged that an

allegedly aggregated patent portfolio prevented it from making any product or

practicing any technology, or that it has been denied any license. Although Intel

claims that patents in the relevant markets have become consolidated under

Fortress’s ownership and control, there are no well-pleaded allegations as to how

these patents—which are supposedly weak and easily designed around and not

especially numerous—are essential or otherwise functionally or economically

necessary. Intel has not, in other words, pleaded sufficient facts to show that any


                                             5
       Case 3:19-cv-07651-EMC Document 303 Filed 11/08/22 Page 6 of 7




alleged price increases are attributable to patent aggregation. A mere “possibility”

that Fortress has acted unlawfully is not sufficient. Iqbal, 556 U.S. at 678.

      As the defendants argue, moreover, from the face of the operative complaint

there are obvious alternative explanations for the alleged price increase. See Somers

v. Apple, Inc., 729 F.3d 953, 965 (9th Cir. 2013) (when allegations of anticompetitive

pricing are considered alongside “obvious alternative explanation[s],” like

competitive behavior, the anticompetitive theory “stops short of the line between

possibility and plausibility” (quoting Twombly, 550 U.S. at 557)); In re Century

Aluminum Co. Sec. Litig., 729 F.3d 1104, 1108 (9th Cir. 2013) (“To render their

explanation plausible, plaintiffs must do more than allege facts that are merely

consistent with both their explanation and defendants’ competing explanation.”). As

Intel alleged, unlike the previous patent-holders, Fortress faces much fewer

competitive restraints in asserting the patents. This alternative explanation supports

the district court’s well-considered determination that Intel’s anticompetitive theory

“stays in neutral territory” and “stops short of the line between possibility and

plausibility.” Somers, 729 F.3d at 965 (quoting Twombly, 550 U.S. at 557).

      Intel has also failed to plead that Fortress’s conduct has restricted output in

any relevant patent market. Its few conclusory allegations, unsupported by any facts,

are insufficient to plead output restriction. See Twombly, 550 U.S. at 555–56. Intel

has failed to plead facts demonstrating how patent licenses were restricted below a


                                          6
        Case 3:19-cv-07651-EMC Document 303 Filed 11/08/22 Page 7 of 7




competitive level and has not identified any occasion on which the defendants

refused to grant a license. To the extent Intel alleges reduced output in downstream

markets that Fortress does not control, that is insufficient. See R.C. Dick Geothermal

Corp. v. Thermogenics, Inc., 890 F.2d 139, 151 (9th Cir. 1989) (en banc) (“The kind

of restriction of output which has been condemned is the output in the relevant

market . . . .”).

       Because Intel has not plausibly alleged any anticompetitive effects due to

patent aggregation, we need not reach the other issues raised in the parties’ briefs.

       AFFIRMED.




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